                                                                    Defendant's Motion to Ascertain Status
                                                                    (Doc. No. 91) is DENIED without
                                                                    prejudice as moot as the motion at Doc.
                                                                    No. 88 was granted at Doc. No. 93.

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


  BRAD AMOS,                                    ]
                                                ]
                 Plaintiff,                     ]
                                                ]
  vs.                                           ]      Case No. 3:21-cv-00923
                                                ]
  THE LAMPO GROUP, LLC, ET AL.,                 ]      JURY DEMAND
                                                ]
                 Defendant.                     ]


______________________________________________________________________________

                       MOTION TO ASCERTAIN STATUS
______________________________________________________________________________

        Comes now the Plaintiff and pursuant to Middle District of Tennessee Local Rule 7.01(c)

files this Motion to Ascertain the Status of his Unopposed Motion to Continue Trial (Doc. No. 88).

        Plaintiff understands the Motion was only filed 12 days ago and understands the Court has

many matters pending before it, but several fast-approaching deadlines are dependent on the

Court’s ruling on this matter. The Motion is unopposed and the parties have not requested a

continuance of the trial previously.

                                       Respectfully Submitted,

                                       THE EMPLOYMENT & CONSUMER LAW GROUP,

                                       /s/ Jonathan A. Street______________
                                       JONATHAN STREET, BPR NO. 021712
                                       LAUREN IRWIN, BPR No. 034833
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   Case 3:21-cv-00923 Document 95 Filed 04/25/23 Page 1 of 1 PageID #: 2469
